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                                       Exhibit A

                                    Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE
_________________________________________
                                          )
In re:                                    )                            Chapter 11
                                          )
THE RELAY SHOE COMPANY, LLC, et           )                            Case No. 18-11145 (LSS)
al.,                                      )
                                          )                            (Jointly Administered)
                    1
            Debtors.                      )
                                          )                            Re: Docket No. ____
_________________________________________ )

     ORDER SUSTAINING DEBTORS’ SECOND OMNIBUS (NON-SUBSTANTIVE)
        OBJECTION TO CERTAIN AMENDED AND DUPLICATE CLAIMS

         Upon the objection (the “Objection”)2 of the above-captioned debtors (the “Debtors”),

for entry of an order (this “Order”), pursuant to Section 502(b) of the Bankruptcy Code,

Bankruptcy Rule 3007, and Local Rule 3007-1, (i) disallowing and expunging each of the claims

identified on identified on Exhibit 1 hereto (collectively, the “Amended Claims”), (ii)

disallowing and expunging the claims identified on Exhibit 2 hereto (the “Duplicate Claims”

and, together with the Amended Claims, collectively, the “Disputed Claims”), and (iv) directing

the Claims Agent to reflect such removal of the Disputed Claims in the Claims Register; and

upon consideration of the record of these Chapter 11 Cases and the Kosturos Declaration; and it

appearing that the Court has jurisdiction to consider the Objection in accordance with 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District


         1
           The debtors and debtors in possession in these cases and the last four digits of their respective Employer
Identification Numbers are: Relay Blocker, LLC (f/k/a Rockport Blocker, LLC) (5097), The Relay Group Holdings,
LLC (f/k/a The Rockport Group Holdings, LLC) (3025), Relay 1-P Holdings, LLC (f/k/a TRG 1-P Holdings, LLC)
(4756), Relay Intermediate Holdings, LLC (f/k/a TRG Intermediate Holdings, LLC) (8931), Relay Class D, LLC
(f/k/a TRG Class D, LLC) (4757), The Relay Group, LLC (f/k/a The Rockport Group, LLC) (5559), The Relay Shoe
Company, LLC (f/k/a The Rockport Company, LLC) (5456), Drydock Footwear, LLC (7708), DD Management
Services LLC (8274), and Relay Opco Canada ULC (f/k/a Rockport Canada ULC) (3548). The debtors’ mailing
address is 1220 Washington Street, West Newton, Massachusetts 02465.
         2
             Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Objection.



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Court for the District of Delaware dated February 29, 2012; and it appearing that the Objection is

a core matter pursuant to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order

consistent with Article III of the United States Constitution; and it appearing that venue of these

Chapter 11 Cases and of the Objection is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it

appearing that due and adequate notice of the Objection has been given under the circumstances

and that no other or further notice need be given; and after due deliberation, and good and

sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.        The Objection is GRANTED and SUSTAINED as set forth herein.

         2.        Any Response to the Objection not otherwise withdrawn, resolved, or adjourned

is hereby overruled on the merits.

         3.        Each of the Amended Claims listed on Exhibit 1 hereto is hereby DISALLOWED

and EXPUNGED in its entirety.

         4.        Each of the Duplicate Claims listed on Exhibit 2 hereto is hereby DISALLOWED

and EXPUNGED in its entirety.

         5.        The Claims Agent is authorized to modify the Claims Register to comport with

the entry of this Order.

         6.        The rights of the Debtors are preserved to (i) file subsequent objections to any

Claims listed in Exhibit 1 and Exhibit 2, on any ground, (ii) amend, modify, and/or supplement

the Objection, including, without limitation, the filing of objections to further amended or newly

filed claims, (iii) seek expungement or reduction of any Claim to the extent all or a portion of

such Claim has been paid, and (iv) settle any Claim for less than the asserted amount.




                                                   2
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         7.        The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Objection.

         8.        This Court shall retain exclusive jurisdiction to resolve any dispute arising from

or related to this Order.




                                                   3
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                                           Exhibit 1

                                        Amended Claims




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                                                                    Second Omnibus - Non-Substantive Objections
                                                                            Exhibit 1 - Amended Claims
                                   CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                            DATE      CASE NUMBER /                                        CLAIM                                 DATE      CASE NUMBER /                                  CLAIM
          NAME              FILED        DEBTOR             CLAIM #       CLASSES         AMOUNTS              NAME              FILED        DEBTOR          CLAIM #     CLASSES        AMOUNTS
1 CINCINNATI PREMIUM        08/17/18 18-11145 (LSS)            141      Administrative          $100.00 CINCINNATI PREMIUM       08/30/18 18-11145 (LSS)        274     Administrative       $1,948.41
  OUTLETS, LLC, A                    The Rockport                       Unsecured          $150,916.39 OUTLETS, LLC, A                    The Rockport                  Unsecured          $150,916.39
  DELAWARE LIMITED                   Company, LLC                                                       DELAWARE LIMITED                  Company, LLC
  LIABILITY COMPANY                                                     Total              $ 151,016.39 LIABILITY COMPANY                                               Total              $ 152,864.80
  SIMON PROPERTY                                                                                        SIMON PROPERTY
  GROUP, LP                                                                                             GROUP, LP
  225 W WASHINGTON                                                                                      225 W WASHINGTON
  STREET                                                                                                STREET
  INDIANAPOLIS, IN 46204                                                                                INDIANAPOLIS, IN 46204

2 CRESTMARK            08/29/18 18-11145 (LSS)                 190      Secured           $2,062,823.03 CRESTMARK            08/29/18 18-11151 (LSS)            218     Secured           $2,062,823.03
  EQUIPMENT FINANCE, A          The Rockport                                                            EQUIPMENT FINANCE, A          The Rockport Group,               Unsecured                 $0.00
  DIVISION OF                   Company, LLC                                                            DIVISION OF                   LLC
  METABANK                                                                                              METABANK                                                        Total            $ 2,062,823.03
  5480 CORPORATE                                                                                        5480 CORPORATE DRIVE
  DRIVE, SUITE 350                                                                                      SUITE 350
  TROY, MI 48098                                                                                        TROY, MI 48098

3 CRESTMARK            08/29/18 18-11151 (LSS)                 207      Secured           $2,062,823.03 CRESTMARK             08/29/18 18-11151 (LSS)           218     Secured           $2,062,823.03
  EQUIPMENT FINANCE, A          The Rockport Group,                     Unsecured                  $0.00 EQUIPMENT FINANCE, A          The Rockport Group,              Unsecured                 $0.00
  DIVISION OF                   LLC                                                                      DIVISION OF                   LLC
  METABANK                                                              Total             $ 2,062,823.03 METABANK                                                       Total            $ 2,062,823.03
  5480 CORPORATE                                                                                         5480 CORPORATE DRIVE
  DRIVE, SUITE 350                                                                                       SUITE 350
  TROY, MI 48098                                                                                         TROY, MI 48098

4 DAWSON COUNTY TAX         05/25/18 18-11145 (LSS)             7       Priority              $2,480.60 DAWSON COUNTY TAX        08/06/18 18-11145 (LSS)        94      503(b)(9)            $2,352.70
  COMMISSIONER'S                     The Rockport                       Secured               $2,480.60 COMMISSIONER'S                    The Rockport                  Priority             $2,352.70
  OFFICE                             Company, LLC                                                       OFFICE                            Company, LLC                  Secured              $2,352.70
  25 JUSTICE WAY STE                                                    Total                $ 4,961.20 25 JUSTICE WAY STE
  1222                                                                                                  1222                                                            Total                $ 7,058.10
  DAWSONVILLE, GA                                                                                       DAWSONVILLE, GA
  30534                                                                                                 30534

5 DEPARTMENT OF THE         06/01/18 18-11146 (LSS)            15       Priority              $5,000.00 DEPARTMENT OF THE        06/14/18 18-11146 (LSS)        36      Unsecured                $0.00
  TREASURY - INTERNAL                Rockport Blocker,                                                  TREASURY - INTERNAL               Rockport Blocker,
  REVENUE SERVICE                    LLC                                                                REVENUE SERVICE                   LLC
  P.O. BOX 7346                                                                                         P.O. BOX 7346
  PHILADELPHIA, PA                                                                                      PHILADELPHIA, PA
  19101-7346                                                                                            19101-7346




  * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                          Page 1 of 3
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                                                                   Second Omnibus - Non-Substantive Objections
                                                                           Exhibit 1 - Amended Claims
                                    CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                             DATE      CASE NUMBER /                                        CLAIM                                 DATE     CASE NUMBER /                                CLAIM
           NAME              FILED        DEBTOR             CLAIM #       CLASSES         AMOUNTS              NAME              FILED       DEBTOR        CLAIM #     CLASSES        AMOUNTS
6 HALTON HILLS               08/17/18 18-11145 (LSS)            140      Administrative          $100.00 HALTON HILLS             08/30/18 18-11145 (LSS)     275     Administrative      $4,293.76
  SHOPPING CENTRE                     The Rockport                       Unsecured          $114,006.89 SHOPPING CENTRE                    The Rockport               Unsecured         $114,006.89
  PARTNERSHIP, AN                     Company, LLC                                                       PARTNERSHIP, AN                   Company, LLC
  ONTARIO GENERAL                                                        Total              $ 114,106.89 ONTARIO GENERAL                                              Total             $ 118,300.65
  PARTNERSHIP                                                                                            PARTNERSHIP
  SIMON PROPERTY                                                                                         SIMON PROPERTY
  GROUP, L.P.                                                                                            GROUP, L.P.
  225 W. WASHINGTON                                                                                      225 W. WASHINGTON
  STREET                                                                                                 STREET
  INDIANAPOLIS, IN 46204                                                                                 INDIANAPOLIS, IN 46204

7 LOUISIANA                  09/17/18 18-11145 (LSS)            295      Priority               $16.49 LOUISIANA                  10/15/18 18-11145 (LSS)     307     Priority              $103.80
  DEPARTMENT OF                       The Rockport                       Unsecured              $55.16 DEPARTMENT OF                       The Rockport               Unsecured             $424.27
  REVENUE                             Company, LLC                                                      REVENUE                            Company, LLC
  P.O. BOX 66658                                                         Total                  $ 71.65 P.O. BOX 66658                                                Total                $ 528.07
  BATON ROUGE, LA                                                                                       BATON ROUGE, LA
  70896-6658                                                                                            70896-6658

8 NIZAM, SHIHARA             08/13/18 18-11145 (LSS)            103      Priority             $1,680.00 NIZAM, SHIHARA            08/31/18 18-11145 (LSS)     260     Priority            $3,975.00
  35 BRUNSWICK #119                   The Rockport                                                      35 BRUNSWICK #119                  The Rockport
  DOLLARD-DES-                        Company, LLC                                                      DOLLARD-DES                        Company, LLC
  ORMEAUX, QC H9B 1P5                                                                                   ORMEAUX, QC H9B 1P5
  CANADA                                                                                                CANADA

9 PENNSYLVANIA          06/04/18 18-11152 (LSS)                 26       Priority           $12,073.82* PENNSYLVANIA           06/26/18 18-11152 (LSS)        47      Priority          $12,073.82*
  DEPARTMENT OF                  Drydock Footwear,                       Unsecured          $20,385.11* DEPARTMENT OF                   Drydock Footwear,             Unsecured         $20,385.11*
  REVENUE                        LLC                                                                     REVENUE                        LLC
  BANKRUPTCY DIVISION                                                    Total              $ 32,458.93* BANKRUPTCY DIVISION                                          Total             $ 32,458.93*
  PO BOX 280946                                                                                          PO BOX 280946
  HARRISBURG, PA 17128-                                                                                  HARRISBURG, PA 17128-
  0946                                                                                                   0946

10 PHILADELPHIA              08/17/18 18-11145 (LSS)            138      Administrative        $1,175.53 PHILADELPHIA             08/30/18 18-11145 (LSS)     268     Administrative      $3,553.04
   PREMIUM OUTLETS                    The Rockport                       Unsecured          $171,722.76 PREMIUM OUTLETS                    The Rockport               Unsecured         $171,722.76
   LLC, A DELAWARE                    Company, LLC                                                       LLC, A DELAWARE                   Company, LLC
   LIMITED LIABILITY                                                     Total              $ 172,898.29 LIMITED LIABILITY                                            Total             $ 175,275.80
   COMPANY                                                                                               COMPANY
   SIMON PROPERTY                                                                                        SIMON PROPERTY
   GROUP, LP                                                                                             GROUP, LP
   225 W WASHINGTON                                                                                      225 W WASHINGTON
   STREET                                                                                                STREET
   INDIANAPOLIS, IN 46204                                                                                INDIANAPOLIS, IN 46204




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                        Page 2 of 3
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                                                                   Second Omnibus - Non-Substantive Objections
                                                                           Exhibit 1 - Amended Claims
                                    CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                             DATE      CASE NUMBER /                                        CLAIM                                 DATE     CASE NUMBER /                                CLAIM
           NAME              FILED        DEBTOR             CLAIM #       CLASSES         AMOUNTS              NAME              FILED       DEBTOR        CLAIM #     CLASSES        AMOUNTS
11 PREMIUM OUTLET            08/17/18 18-11145 (LSS)            142      Administrative          $139.54 PREMIUM OUTLET           08/30/18 18-11145 (LSS)     273     Administrative      $4,123.68
   PARTNERS, L.P., A                  The Rockport                       Unsecured          $147,730.04 PARTNERS, L.P., A                  The Rockport               Unsecured         $147,730.04
   DELAWARE LIMITED                   Company, LLC                                                       DELAWARE LIMITED                  Company, LLC
   PARTNERSHIP                                                           Total              $ 147,869.58 PARTNERSHIP                                                  Total             $ 151,853.72
   SIMON PROPERTY                                                                                        SIMON PROPERTY
   GROUP, L.P.                                                                                           GROUP, L.P.
   225 W. WASHINGTON                                                                                     225 W. WASHINGTON
   STREET                                                                                                STREET
   INDIANAPOLIS, IN 46204                                                                                INDIANAPOLIS, IN 46204

12 S. WALTER PACKAGING       07/02/18 18-11145 (LSS)            49       503(b)(9)             $4,146.48 S WALTER PACKAGING       08/29/18 18-11145 (LSS)     206     503(b)(9)           $4,146.48
   CORP                               The Rockport                       Unsecured           $14,736.90 CORP                               The Rockport               Unsecured         $190,044.02
   ATTN: JOE KAELIN                   Company, LLC                                                       2900 GRANT AVE                    Company, LLC
   2900 GRANT AVE                                                        Total               $ 18,883.38 PHILADELPHIA, PA                                             Total             $ 194,190.50
   PHILADELPHIA, PA                                                                                      19114-2310
   19114




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                        Page 3 of 3
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                                           Exhibit 2

                                        Duplicate Claims




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                                                                  Second Omnibus - Non-Substantive Objections
                                                                          Exhibit 2 - Exact Duplicates
                                   CLAIMS TO BE DISALLOWED                                                                           REMAINING CLAIMS

                            DATE      CASE NUMBER /                                   CLAIM                              DATE     CASE NUMBER /                                CLAIM
          NAME              FILED        DEBTOR             CLAIM #       CLASSES    AMOUNTS             NAME            FILED       DEBTOR         CLAIM #     CLASSES       AMOUNTS
1 COUNTY OF SANTA           05/29/18 18-11145 (LSS)            24       Priority       $1,839.08* COUNTY OF SANTA        05/29/18 18-11145 (LSS)       2      Priority          $1,839.08*
  CLARA DEPARTMENT                   The Rockport                                                 CLARA DEPARTMENT                The Rockport
  OF TAX AND                         Company, LLC                                                 OF TAX AND                      Company, LLC
  COLLECTIONS                                                                                     COLLECTIONS
  70 W. HEDDING EAST                                                                              70 W. HEDDING EAST
  WING                                                                                            WING
  6TH FLOOR                                                                                       6TH FLOOR
  SAN JOSE, CA 95110                                                                              SAN JOSE, CA 95110

2 FRANCHISE TAX BOARD 07/24/18 18-11152 (LSS)                  79       Priority         $3,390.52 FRANCHISE TAX BOARD 07/31/18 18-11152 (LSS)        76      Priority           $3,390.52
  BANKRUPTCY SECTION           Drydock Footwear,                        Unsecured        $6,069.02 BANKRUPTCY SECTION           Drydock Footwear,             Unsecured          $6,069.02
  MS A340                      LLC                                                                 MS A340                      LLC
  PO BOX 2952                                                           Total           $ 9,459.54 PO BOX 2952                                                Total             $ 9,459.54
  SACRAMENTO, CA 95812                                                                             SACRAMENTO, CA 95812
  -2952                                                                                            -2952




  * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                Page 1 of 1
